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From:               Glazunov, Yaroslav
To:                 Glazunov, Yaroslav
Subject:            1
Date:               Thursday, November 26, 2020 12:28:05 AM


Hi Graham – as promised. Below is the list.
All numbers are annual and in rubles.
For all team members we have an annual discretionary bonus. It varies from 20% to 50% of their annual
salaries (based on the judgement of the 3 of us).

As Marat is aware we have excluded one of the finance team members (Irina Tuchkova) as she becomes
redundant.

Regards,
Yaroslav


VANIN, GENNADY           Principal 8 324 008
SADOVNIKOVA, YULIA Principal 7 220 400
Erashova, Svetlana          Accountant        5 231 304
Baranova, Svetlana         Executive Assistant        2 979 888
Matveeva, Ksenia           Executive Assistant        3 695 360
Maximova, Marina          Executive Assistant        2 393 880
Kalkina, Irina      Senior Associate              5 310 488
Ten, Yulia            Senior Associate              4 430 600
Nabatova, Maria              Research Analyst             2 176 800
Chistyukhina, Lilia            Research Analyst             1 840 000
